30 F.3d 129
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Roger Dale GRUBB, Plaintiff Appellant,v.M. H. BALOUCHE, Dr., Defendant Appellee,and John DOE, Administrator;  Franklin E. Freeman, Jr., Defendants.
    No. 94-6604.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  June 23, 1994.Decided:  July 29, 1994.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  W. Earl Britt, District Judge.  (CA-93-198-BR)
      Roger Dale Grubb, Appellant Pro Se.
      Jacob Leonard Safron, Special Deputy Attorney General, Raleigh, North Carolina, for Appellee.
      E.D.N.C.
      AFFIRMED.
      Before MURNAGHAN and WILKINS, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Grubb v. Balouche, No. CA-93-198-BR (E.D.N.C. May 2, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.  The motions for oral argument and appointment of counsel are denied.
    
    AFFIRMED
    